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FILED

MAY 24 2024

IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, CASE NO. 2:21-CR-00111 WBS
Plaintiff,
V. VERDICT FORM
ROBERT ALLEN POOLEY,
Defendant.

WE, THE JURY, FIND THE DEFENDANT, ROBERT ALLEN POOLEY, AS FOLLOWS:

AS TO COUNT 1 OF THE INDICTMENT:
GUILTY NOT GUILTY

of Count 1, Wire Fraud, in violation of Title 18, United States
x Code, Section 1343, regarding the email from Fabricio
\ Palomino to Parachute Center, sent on or about June 28, 2016.

AS TO COUNT 2 OF THE INDICTMENT:

GUILTY NOT GUILTY
of Count 2, Wire Fraud, in violation of Title 18, United States
Y Code, Section 1343, regarding the email from Robert Pooley to
Fabricio Palomino, sent on or about June 29, 2016.

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AS TO COUNT 3 OF THE INDICTMENT:

GUILTY NOT GUILTY
of Count 3, Wire Fraud, in violation of Title 18, United States
x Code, Section 1343, regarding the email from Fabricio Palomino
to Robert Pooley, sent on or about July 4, 2016.

AS TO COUNT 4 OF THE INDICTMENT:
GUILTY NOT GUILTY

of Count 4, Wire Fraud, in violation of Title 18, United States
Code, Section 1343, regarding the email from Robert Pooley to

x USPA and morgan@verticalfilms.com.au, sent on or about
August 1, 2016.

AS TO COUNT 5 OF THE INDICTMENT:
GUILTY NOT GUILTY

of Count 5, Aggravated Identity Theft, in violation of Title 18,
United States Code, Section 1028A(a)(1), regarding the
signatures of Yuri Garmashov on USPA D license application,

xX USPA Tandem Instructor Rating Course Proficiency Card, and
UPT Tandem Instructor Certification Form for YongHyeon
Kwon, dated on or about July 1, 2016.

AS TO COUNT 6 OF THE INDICTMENT:

GUILTY NOT GUILTY
of Count 6, Aggravated Identity Theft, in violation of Title 18,
United States Code, Section 1028A(a)(1), regarding the
x signatures of Yuri Garmashov on USPA Tandem Instructor
Rating Course Proficiency Card for Morgan Lachlan Mackay,
dated on or about August 1, 2016.

Slt [ast

DATED

VERDICT FORM :

